           CASE 0:22-cr-00238-NEB Doc. 17 Filed 10/18/22 Page 1 of 3

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

                                             UNDER SEAL

________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-277 (ECT/DJF)

MEKFIRA HUSSEIN, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-85 (NEB/TNL)

MOHAMED JAMA ISMAIL
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-124 (NEB/TNL)

ABDIAZIZ SHAFI FARAH, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-222 (NEB/TNL)

LIBAN YASIN ALISHIRE, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-223 (NEB/TNL)

AIMEE MARIE BOCK, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-224 (NEB/TNL)

QAMAR AHMED HASSAN, ET AL.
________________________________________
           CASE 0:22-cr-00238-NEB Doc. 17 Filed 10/18/22 Page 2 of 3


UNITED STATES OF AMERICA

      v.                                          Criminal No. 22-225 (NEB/TNL)

SHARMAKE JAMA, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-226 (NEB/TNL)

HAJI OSMAN SALAD, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-236 (NEB)

HANNA MARAKEGN
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-237 (NEB)

BEKAM ADDISSU MERDASSA
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-238 (NEB)

HADITH YUSUF AHMED
________________________________________

           NOTICE TO THE COURT OF POSSIBLE RELATED CASES

      The undersigned attorney hereby notifies the Court and counsel that the above-

captioned case, 22-277 (ECT/DJF), is related to the other cases captioned above for the

following reasons:

■     The cases involve the same act or transaction connected with or constituting a
      part of a common conspiracy, scheme or plan;
■     The cases arise out of the same operative set of facts, behavioral episode or course

                                          2
           CASE 0:22-cr-00238-NEB Doc. 17 Filed 10/18/22 Page 3 of 3
      of conduct whether the prior cases are open or closed;
■     The cases arise out of the same investigation and have temporal proximity;
■     A subsequent case results from cooperation rendered by a defendant or defendants
      in a previous case, whether open or closed; and
■     The cases stem from an investigation of a common organization; e.g., a particular
      gang, corporation, financial institution, etc., and the cases involve common
      personnel and/or factual scenarios.


Dated: October 18, 2022                      Respectfully submitted,

                                             ANDREW M. LUGER
                                             United States Attorney

                                              /s/ Matthew S. Ebert
                                      BY:    JOSEPH H. THOMPSON
                                             HARRY M. JACOBS
                                             CHELSEA A. WALCKER
                                             MATTHEW S. EBERT
                                             JOSEPH S. TEIRAB
                                             Assistant United States Attorneys
                                             United States Attorney’s Office
                                             300 South Fourth Street, Suite 600
                                             Minneapolis, MN 55415




                                         3
